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    1   Robert P. Mosier
        Craig M. Collins, CPA
    2   Ryan Baker, Financial Analyst
        MOSIER & COMPANY, INC.
    3   3151 Airway Avenue, Suite A-1
        Costa Mesa, California    92626
    4   Telephone:     (714) 432-0800
        Facsimile:     (714) 432-7329
    5   E-Mail: Rmosier@Mosierco.com
    6   Court Appointed Receiver and Monitor (“Fiduciary”)
    7
    8                                     UNITED STATES DISTRICT COURT
    9
                                        CENTRAL DISTRICT OF CALIFORNIA
  10
  11
  12    SECURITIES AND EXCHANGE                                         Case No: CV 17-6929 PA (JEMx)
        COMMISSION,                                                     Assigned for all purposes to the
  13
                              Plaintiff,                                Honorable Percy Anderson
  14
        vs.                                                             SUMMARY OF FINDINGS BY THE
  15
                                                                        FORENSIC ACCOUNTANTS AND
  16    EDWARD CHEN, JEAN CHEN,                                         FIDUCIARY’S RECOMMENDATIONS
        HOME PARADISE INVESTMENT
  17    CENTER, LLC,
        GH INVESTMENT LP,
  18    GH DESIGN GROUP, LLC,                                           Date:     N/A
        GOLDEN GALAXY, LP AND                                           Time:     N/A
  19    MEGA HOME, LLC,                                                 CTRM:     9A, 350 W. 1st ST. LA
  20                          Defendants.
  21
  22              The Fiduciary respectfully presents this summary regarding the initial
  23    findings of the forensic accountant, RGL Forensics (“RGL”), and its review
  24    of cash receipts and disbursements for the period January 2014 through
  25    September 2017 related to GH Investment LP (“GHI”), GH Design Group,
  26    LLC (“GHD”), Four Star Realty Group, Inc. (“FSR”), an entity owned solely
  27    by Mrs. Chen, and US Grandhood, LLC (“US Grandhood”), an entity owned
  28    jointly by Mr. and Mrs. Chen.                            As the Court may recall, $9.5 million of EB-5

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          SUMMARY OF FINDINGS BY FORENSIC ACCOUNTANTS AND FIDUCIARY’S RECOMMENDATIONS
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    1   investor funds was invested into GHI, all of which was then loaned to GHD
    2   to make use of the investment.                           Attached as Exhibit “1” is a copy of RGL’s
    3   first report (the “First Report”) which summarizes findings related to its
    4   analysis of GHI’s and GHD’s cash receipts and disbursements.                                       Attached
    5   as Exhibit “2” is a copy of RGL’s second report (the “Second Report”) which
    6   details the findings related to its review of the cash receipts and
    7   disbursements for FSR and US Grandhood.                                        Below, the Fiduciary
    8   summarizes the findings of RGL’s two reports.                             The following summary is
    9   organized into four sections: A) Alleged Fake Inventory Bought and Sold, B)
  10    Fake Lease Payments, C) Loan Balance Between GHD and Mega Home,
  11    LLC (“Mega Home”), D) Cost of the Forensic Accounting Reports, and E)
  12    Recommendations for Future Actions.
  13                    A) ALLEGED FAKE INVENTORY BOUGHT AND SOLD
  14              1.      In its analysis, RGL found that over a 14-month period spanning
  15    August 2014 through September 2015, GHD purchased $4 million worth of
  16    inventory from FSR 1.                     This confirms the amount the Fiduciary had reported
  17    in his motion to employ a forensic accountant.                              Further, RGL found that
  18    these same funds were funneled from FSR to Mega Home (and sometimes
  19    from FSR to Jean Chen personally and then to Mega Home) in the form of
  20    an equity investment on the same day or just a few days after GHD had paid
  21    FSR. 2          RGL also found GHD had purchased a total of $1,355,753 of
  22    inventory from US Grandhood 3 (in one transaction, four days after GHD had
  23    purchased $832,700 worth of purported inventory from US Grandhood, US
  24    Grandhood lent $833,000 to Mega Home).                                          In total, GHD paid
  25    approximately $5.35 million for alleged fake inventory from FSR and US
  26    Grandhood.
  27
        1
            This amount is referenced in the First Report, the bottom of page 2, in the last section of bullet points.
  28    2
            These findings are discussed on page 2 of the Second Report.
        3
            This figure is cited at the top of page 4 of the First Report.
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            SUMMARY OF FINDINGS BY FORENSIC ACCOUNTANTS AND FIDUCIARY’S RECOMMENDATIONS
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    1             2.      The following additional information makes the authenticity of
    2   these inventory purchases dubious.                           RGL found there were no significant
    3   sales of inventory by GHD on GHD’s books—meaning GHD’s inventory
    4   balance was not reduced by selling inventory to another entity. Further, the
    5   inventory in GHD’s Ontario warehouse was found to have a nominal value
    6   of less than $100,000 based on a valuation provided by Tranzon—leaving
    7   $5.25 million of inventory unaccounted.                          The Fiduciary tested the theory
    8   whether this inventory could have been used on the fix and flip projects
    9   rehabbed by GHD.                     However, this is not only unlikely but would have proved
  10    to be a losing business proposition.                         There were 21 homes purchased and
  11    sold by GHD prior to the Fiduciary being appointed.                          There were a further
  12    19 homes the Fiduciary inherited that had been purchased but not yet sold
  13    by GHD—of these only 6 homes had been renovated.                              Therefore, a total of
  14    27 homes were renovated.                             Under this scenario, more than an average of
  15    $194,000 worth of inventory would have been used to renovate each of the
  16    27 homes.               If this were the case, GHD would have lost on average of
  17    $119,000 for every home that it flipped (the 21 homes sold prior to the
  18    Fiduciary’s appointment were sold on average for $75,000 above the original
  19    purchase price, not including any costs associated with renovations).                             This
  20    does not even include labor costs to install the inventory which would have
  21    made the losses even more enormous.
  22              3.      From the forensic accountant’s findings, it is apparent that GHD’s
  23    purchase of fake inventory from FSR and US Grandhood was conceived for
  24    the purpose of providing Mr. and Mrs. Chen with funds to invest in Mega
  25    Home to the detriment of the GHI investors.                          Under these circumstances,
  26    the GHI investors should own and be the beneficiary of the FSR investment
  27    in Mega Home.                       Further, US Grandhood should repay GHI investors
  28

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    1   $1,205,753 4— to ensure at least partial repayment, GHI should receive all
    2   loan repayments due from Mega Home to US Grandhood ($830,000).
    3                                           B) FAKE LEASE PAYMENTS
    4             4.      RGL also details in its First Report that GHD paid approximately
    5   $649,842 to FSR for rent on its Ontario warehouse.5 The payments were
    6   made in average monthly installments of $29,640—matching the amount of
    7   the fake lease between GHD and FSR noted by the Fiduciary in his motion
    8   to employ a forensic accountant.                             The difference between the total real
    9   lease payments from FSR to the landlord and the total fake lease payments
  10    from GHD to FSR appears to have been $291,370 6.
  11                   C) LOAN BALANCE BETWEEN GHD AND MEGA HOME
  12              5.      In the Stipulation and Order dated February 13, 2018, it was
  13    ordered that GHD repay $1.32 million to Mega Home as it was initially
  14    believed that GHD had a balance owing to Mega Home.                                    However, RGL
  15    has determined that while GHD did receive $1.15 million from Mega Home,
  16    GHD had paid back $1.13 million to Mega Home—leaving a net balance
  17    owing of just $20 thousand to Mega Home. 7 Under the belief GHD owed
  18    Mega Home, but before it became known that most of this balance due had
  19    already been paid back, the Fiduciary had GHD pay an additional $128,366
  20    to Mega Home.                  Therefore, GHD made an overpayment of $108,366, which
  21    should be returned.
  22                   D) COST OF THE FORENSIC ACCOUNTING REPORTS
  23              6.             Exhibit “3” presents a summary of the fees for the Forensic
  24    Accountants for the work described above. The Court allowed a total of
  25    4
           Separate from the inventory purchases, GHD had a loan balance due to US Grandhood of $150,000.
        If no inventory was actually purchased by GHD from US Grandhood, then US Grandhood owes GHD a
  26    net amount of $1,205,753 [$1,355,753 - $150,000]). These figures are discussed by RGL on page 4 of
        the First Report.
  27    5
          This amount is referenced in the last block of bullet points near the bottom of page 2 of the First Report.
        6
          RGL found GHD had paid $649,842 to FSR related to the fake lease payments. Over this period, FSR
  28    had paid $358,472 of real rent to the landlord (according to FSR’s books) for a difference of $291,370.
        7
          This calculation is made in the middle of page 3 of the First Report.
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          SUMMARY OF FINDINGS BY FORENSIC ACCOUNTANTS AND FIDUCIARY’S RECOMMENDATIONS
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    1   $65,000.00 to be allocated towards a forensic accounting.                           The amount
    2   accrued to date for the Forensic Accountants is $41,566.00—65% of the
    3   allowed amount.                   Accordingly, the Fiduciary intends to pay the fees within
    4   ten days of this filing.
    5                        E) RECOMMENDATIONS FOR FUTURE ACTIONS
    6             In light of RGL’s forensic accounting analysis, the Fiduciary outlines
    7   the following recommendations for future consideration by the Parties and
    8   the Court that will become the subject of a future distribution plan:
    9             i.      That FSR’s and Jean Chen’s equity ownership in Mega Home be
  10                      reassigned for the benefit of the GHI investors and that the priority
  11                      be changed to be on par with “Class B” shares—the same priority
  12                      as the EB-5 investors in the GG-80 project.
  13              ii.     From the proceeds of the sale of GG-80, US Grandhood would
  14                      repay GHD $1,205,753.                      Of this amount, GHD should become
  15                      the beneficiary of the $830,000 loan Mega Home owes to US
  16                      Grandhood as RGL demonstrated it was GHD funds used to make
  17                      the loan.
  18              iii. That FSR repay GHD $291,370—the difference between the fake
  19                      lease payment GHD paid to FSR and the amount FSR paid to the
  20                      real landlord – this too would come from GG-80 proceeds.
  21              iv. That the $1,320,000 originally ordered to be paid from GHD to
  22                      Mega Home be reduced to $20,000 which would in turn create a
  23                      credit owing from Mega Home to GHD of $108,366.
  24
  25
  26    Date:           8/29/2018                                     ________________________
                                                                      Robert P. Mosier, Fiduciary
  27
  28

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    1                                DECLARATION OF ROBERT P. MOSIER
    2             I, Robert P. Mosier, declare and affirm as follows:
    3              1.        I am the duly appointed Fiduciary in this matter and have first-
    4   hand knowledge about the following facts except where otherwise noted. If
    5   called upon to testify, I could do so competently.
    6              2.        I have personally reviewed and edited this Summary of Findings
    7   by the Forensic Accountants, and Fiduciary’s Recommendations (“Summary
    8   of Findings”) that was prepared by Ryan Baker, Senior Financial Analyst and
    9   Project Coordinator. I believe the content of the Summary of Findings and
  10    the description of events to be accurate to the best of my knowledge and
  11    belief.
  12               3.        Exhibit “1” is a copy of RGL’s First Report which summarizes
  13    findings related to the analysis of GHI and GHD’s cash receipts and
  14    disbursements.
  15               4.        Exhibit “2” is a copy of RGL’s Second Report which details the
  16    findings related to the review of the cash receipts and disbursements for FSR
  17    and US Grandhood.
  18               5.        Exhibit “3” presents a summary of the fees for the Forensic
  19    Accountant for the work performed related to its First Report and Second
  20    Report.
  21              I declare under penalty of perjury under the laws of the United States
  22    of America that the foregoing is true and correct to the best of my knowledge
  23    and belief. This declaration is executed on the 29th day of August, 2018 in
  24    Costa Mesa, California.
  25
  26
                                                                     _______________________
  27                                                                 Robert P. Mosier,
                                                                     Court Appointed Fiduciary
  28

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    1                                    DECLARATION OF RYAN C. BAKER
    2             I, Ryan C. Baker, declare and affirm as follows:
    3              1.        I am the Senior Financial Analyst and Project Manager on the
    4   staff of Mosier & Company, Inc. I have first-hand knowledge about the
    5   following facts except where otherwise noted. If called upon to testify, I
    6   could do so competently.
    7              2.        I have personally written this Summary of Findings by the
    8   Forensic Accountants and Fiduciary’s Recommendations (“Summary of
    9   Findings”).             I believe the content of the Summary of Findings and the
  10    description of events to be accurate to the best of my knowledge and belief.
  11               3.        Exhibit “1” is a copy of RGL’s First Report which summarizes
  12    findings related to the analysis of GHI and GHD’s cash receipts and
  13    disbursements.
  14               4.        Exhibit “2” is a copy of RGL’s Second Report which details the
  15    findings related to the review of the cash receipts and disbursements for FSR
  16    and US Grandhood.
  17               5.        Exhibit “3” presents a summary of the fees for the Forensic
  18    Accountant for the work performed related to its First Report and Second
  19    Report.
  20              I declare under penalty of perjury under the laws of the United States
  21    of America that the foregoing is true and correct to the best of my knowledge
  22    and belief. This declaration is executed on the 29 day of August, 2018 in
  23    Costa Mesa, California.
  24                                                                 _______________________
  25                                                                 Ryan C. Baker,
                                                                     Senior Financial Analyst
  26
  27
  28

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          SUMMARY OF FINDINGS BY FORENSIC ACCOUNTANTS AND FIDUCIARY’S RECOMMENDATIONS
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                              EXHIBIT “1”
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   June 12, 2018                                                                       Jeff George
                                                                                       Director
                                                                                       O +1 720 889 4856
                                                                                       E jgeorge@rgl.com
   Robert Mosier
   Mosier & Company, Inc.
   3151 Airway Avenue, Suite A-1
   Costa Mesa, CA 92626

   RE: GH Design and GH Investments – Report 1

   Dear Mr. Mosier,

   This initial report is following our analysis of the financial information for GH Designs and GH
   Investments. We initialing converted all financial bank records into an electronic useable
   format. We then utilized the general ledger for each entity as well as the summary of bank
   accounts you provided us. Using these different sources, we were able to summarize the
   deposits into the bank accounts as well as all uses of cash including transfers, withdrawals, and
   any transactions that removed money from the bank accounts of GH design and GH
   Investments.

   For our analysis to determine where money came from or where it was going, we had to rely on
   multiple sources. If we had copies of checks or deposit slips, this was the ideal support as it
   listed the source or destination of a transaction. If there was an electronic transfer or wire, the
   banking description on the bank account statement was used to determine the entity on the
   other side of the transaction. If the name of the entity was not listed, but the last 4 of the account
   on the other side of the transaction was, we utilized the summary of bank accounts that you
   provided us to match up an entity with these transactions. Lastly, for the small amount of
   transactions that we had no descriptions about the source or destination of a transactions, we
   utilized the general ledgers of GH Design and GH Investments to see what these transactions
   were related too.

   Once we had the source or destination of transactions, we grouped the transactions into
   different categories. This report focuses on the transactions related to the following three
   entities:

          Four Star Realty Group
          Mega Home
          US Grandhood

   It is our understanding that GH Design and GH Investment were operating as legitimate
   businesses and the descriptions in the general ledger are reliable. If the general ledger is not
   reliable, this implies that GH Design and GH Investment were operating the businesses with
   the intention of keeping false or inaccurate records. Therefore, with this understanding that
   these general ledgers are reliable, we have used the descriptions of accounts and transactions
   within the general ledger to categorize the transactions of the three companies above.




                                                                                            EXHIBIT 1
                                                                                              PAGE 9
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   Four Star Realty

   There were no deposits to any GH Design or GH Investment bank account from Four Star
   Reality. There were no expenses or transactions paying Four Star Realty from the GH
   Investment accounts. In total, there was $4,659,112 of transactions sending money from GH
   Design to Four Star Realty.

   GH Design utilized two different bank accounts related to Four Star Realty for the period we
   analyzed. The first account was with Bank of the West and had an account number of 012-
   067686. All transactions to Four Star from this account were in 2014. In total there were eight
   transactions totaling $2,243,400 from the GH Design Bank of the West account to Four Star
   Realty. These transactions were as follows:

           March 2014 – 1 check made payable to cash and recorded in the general ledger as
            “Four Star Realty Group Inc” - $26,563
           July – November 2014 – 7 checks made payable to Four Star Realty Group Inc. -
            $2,216,837
           Total – 8 checks - $2,243,400

   The second bank account was used from January 2015 through July 2017. This was a Cathay
   Bank account with an account number of 0020330669. In total there were 36 transactions
   totaling $2,415,712. These transactions were as follows:

           33 Checks Made Payable to Four Star Realty Group Inc. - $1,424,752
           3 Wire Transfers with a bank description of “Book Wire Transfer FOUR STAR REALTY
            GROUP INC” - $990,961
           Total – 36 transactions - $2,415,712

   These expenses were categorized by GH Design on the general ledger as three different types
   of transactions:

           Purchase of Inventory – 10 transactions totaling $4,006,672. These transactions for
            money sent to Four Star were recorded under the asset account of purchased
            “Inventory”
           Material Cost – Floor – 1 transaction totaling $2,598 – This transaction for money sent
            to Four Star was recorded under an expense account for “Material Cost”
           Rent or Lease Expense – 34 transactions totaling $649,842 – These transactions for
            money sent to Four Star were recorded under an expense account for “Rent or Lease
            Expense”. It appears the average monthly rent being charged was approximately
            $29,6401
           Total - $4,659,112




   1
    There was one check where part of it was recorded as Inventory and the balance was recorded as Rent Expense
   creating more general ledger entries than transactions.




                                                                                                     EXHIBIT 1
                                                                                                      PAGE 10
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       Mega Home

       There were no expenses or deposits involving Mega Home within the GH Investment accounts.
       All transactions involving Mega Home were to or from the GH Design Cathay bank account
       0020330669. You provided us a list of the bank accounts for different entities involved in this
       case. The three accounts you listed as related to Mega Home were all from Cathay Bank and
       had the final four digits 6756, 9208, and 7185. Any bank transfers to or from accounts ending
       in these four digits we have classified as to or from Mega Home.

       There were 14 transactions involving Mega Home accounts and GH Design. The general ledger
       classified these transactions as either “Loan to” or “Loan From Mega Home”. There were some
       incorrect classifications such as sending money to a Mega Home account being classified as
       “Loan From Mega Home”. Though the general ledger might have accounted for it in the wrong
       account, it did correctly classify it as related to Mega Home and the banking information was
       able to confirm whether it was a transfer in or transfer out. Table 1.0 below summarizes all
       transactions involving GH Design and Mega Home:

                                     Summary of Transactions involving GH Design and Mega Home
                                                                                                             Balance of Money
 GH Design                                                                                                  owed to GH Design
Bank name                                     Bank Description                         Date      Amount      from Mega Home
Cathay Bank   ' Cash Mgmt   Trsfr Dr REF   1531754L FUNDS TRANSFER TO DEP XXXX9208 FROM
                                                                                     06/01/2016 $ (200,000) $           200,000
Cathay Bank   ' Cash Mgmt   Trsfr Dr REF   1731825L FUNDS TRANSFER TO DEP XXXX9208 FROM
                                                                                     06/21/2016   (100,000)             300,000
Cathay Bank   ' Cash Mgmt   Trsfr Dr REF   1901721L FUNDS TRANSFER TO DEP XXXX9208 FROM
                                                                                     07/08/2016    (50,000)             350,000
Cathay Bank   ' Cash Mgmt   Trsfr Dr REF   1971337L FUNDS TRANSFER TO DEP XXXX6756 FROM
                                                                                     07/15/2016    (20,000)             370,000
Cathay Bank   ' Cash Mgmt   Trsfr Dr REF   1971336L FUNDS TRANSFER TO DEP XXXX9208 FROM
                                                                                     07/15/2016    (80,000)             450,000
Cathay Bank   ' Cash Mgmt   Trsfr Dr REF   2081317L FUNDS TRANSFER TO DEP XXXX9208 FROM
                                                                                     07/26/2016   (100,000)             550,000
Cathay Bank   ' Cash Mgmt   Trsfr Cr REF   2801359L FUNDS TRANSFER FRMDEP XXXX9208 FROM
                                                                                     10/06/2016    550,000                  -
Cathay Bank   ' Cash Mgmt   Trsfr Cr REF   0661902L FUNDS TRANSFER FRMDEP XXXX9208 FROM
                                                                                     03/07/2017    500,000             (500,000)
Cathay Bank   ' Cash Mgmt   Trsfr Dr REF   0661906L FUNDS TRANSFER TO DEP XXXX9208 FROM
                                                                                     03/07/2017   (500,000)                 -
Cathay Bank   ' Cash Mgmt   Trsfr Cr REF   0901907L FUNDS TRANSFER FRMDEP XXXX6756 FROM
                                                                                     03/31/2017
                                                                                          TRANSFER FOR
                                                                                                    20,000
                                                                                                        LOW BALANCE (20,000)
Cathay Bank   ' Cash Mgmt   Trsfr Cr REF   0971313L FUNDS TRANSFER FRMDEP XXXX6756 FROM
                                                                                     04/07/2017
                                                                                          MEGA LOAN30,000
                                                                                                     TO GH              (50,000)
Cathay Bank   ' Cash Mgmt   Trsfr Cr REF   0971319L FUNDS TRANSFER FRMDEP XXXX6756 FROM
                                                                                     04/07/2017
                                                                                          MEGA LOAN30,000
                                                                                                     TO GH              (80,000)
Cathay Bank   ' Cash Mgmt   Trsfr Dr REF   1011806L FUNDS TRANSFER TO DEP XXXX6756 FROM
                                                                                     04/11/2017
                                                                                         REPAY THE LOAN
                                                                                                   (80,000)
                                                                                                         MEGA LOAN TO GH -
Cathay Bank   ' Cash Mgmt   Trsfr Cr REF   1221201L FUNDS TRANSFER FRMDEP XXXX6756 FROM
                                                                                     05/02/2017
                                                                                          MEGA LOAN20,000
                                                                                                     TO GH              (20,000)

                                                                Table 1.0


       Overall, GH Design currently owes $20,000 to Mega Home.

       US Grandhood

       There were no expenses or deposits involving US Grandhood within the GH Investment
       accounts. The first transaction from a GH Design account to US Grandhood was from the Bank
       of the West account ending in 7686. It was a check made out to US Grandhood, LLC on
       September 19, 2014 for $832,700.13. The remaining 21 transactions involved the GH Design
       Cathay bank account 0020330669 and were a mixture of checks made out to US Grandhood
       or bank transfers to or from a US Grandhood account. We used the previously mentioned list
       you provided with the bank accounts for different entities involved in this case. The two
       accounts you listed as related to US Grandhood was a Cathay Bank account ending in 1339
       and a Bank of the West account ending in 2577. All transfers to or from the GH Design Cathay
       account involved the US Grandhood account ending in 1339.




                                                                                                           EXHIBIT 1
                                                                                                            PAGE 11
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        The first 12 transactions to US Grandhood totaled $1,355,753 and were classified on the
        general ledger as an “Inventory Purchase”. These consisted of eight checks made out to US
        Grandhood and four bank transfers to US Grandhood. The remaining 10 transactions involving
        US Grandhood consisted of three deposits into the GH Design account and seven transactions
        transferring money out of the GH Design account. The general ledger classified these
        transactions as either “Loan to” or “Loan From US Grandhood”. There were some incorrect
        classifications such as sending money to a US Grandhood account being classified as “Loan
        From US Grandhood”. Though the general ledger might have accounted for it in the wrong
        account, it did correctly classify it as related to US Grandhood and the banking information was
        able to confirm whether it was a transfer in or transfer out. The transactions categorized as
        loans are summarized as follows:

                  Transfers into GH Design from US Grandhood - $890,000
                  Transfers from GH Design to US Grandhood - $740,000
                  Net Effect - $150,000 transferred into GH Design from US Grandhood

        It is unclear what inventory GH Design was purchasing from US Grandhood or whether these
        were also loans. If there was no inventory purchased and these were “Loans”, then US
        Grandhood owes GH Design a net amount of $1,205,753. Table 2.0 below summarizes all
        transactions involving GH Design and US Grandhood:

                                  Summary of Transactions involving GH Design and US Grandhood
                                                                                                              Balance of Money
   GH Design                                                                                                 owed to GH Design
   Bank name                                   Bank Description                         Date     Amount      from US Grandhood
Bank of The West   Check Payee - U.S. Grandhood LLC                                   9/19/2014 $ (832,700) $            832,700
Cathay Bank        Check Payee - U.S. Grandhood LLC                                   7/31/2015     (60,000)             892,700
Cathay Bank        Check Payee - U.S. Grandhood LLC                                    9/9/2015     (31,712)             924,412
Cathay Bank        Check Payee - U.S. Grandhood LLC                                  10/13/2015     (10,000)             934,412
Cathay Bank        Check Payee - U.S. Grandhood LLC                                   11/5/2015    (259,741)           1,194,153
Cathay Bank        Check Payee - U.S. Grandhood LLC                                  11/18/2015     (30,000)           1,224,153
Cathay Bank        Check Payee - U.S. Grandhood LLC                                  11/25/2015     (20,000)           1,244,153
Cathay Bank        ' Book Wire Transfer U.S. GRANDHOOD LLC                           12/14/2015     (30,000)           1,274,153
Cathay Bank        Check Payee - U.S. Grandhood LLC                                  12/23/2015     (31,600)           1,305,753
Cathay Bank        ' Cash Mgmt Trsfr Dr REF 0271318L FUNDS TRANSFER TO DEP XXXX1339 FROM
                                                                                      1/27/2016     (10,000)           1,315,753
Cathay Bank        ' Cash Mgmt Trsfr Dr REF 0271228L FUNDS TRANSFER TO DEP XXXX1339 FROM
                                                                                      1/27/2016     (30,000)           1,345,753
Cathay Bank        ' Cash Mgmt Trsfr Dr REF 0281222L FUNDS TRANSFER TO DEP XXXX1339 FROM
                                                                                      1/28/2016     (10,000)           1,355,753
Cathay Bank        ' Cash Mgmt Trsfr Dr REF 0611338L FUNDS TRANSFER TO DEP XXXX1339 FROM
                                                                                       3/1/2016    (200,000)           1,555,753
Cathay Bank        ' Cash Mgmt Trsfr Cr REF 1381305L FUNDS TRANSFER FRMDEP XXXX1339 FROM
                                                                                      5/17/2016      50,000            1,505,753
Cathay Bank        ' Cash Mgmt Trsfr Dr REF 1462003L FUNDS TRANSFER TO DEP XXXX1339 FROM
                                                                                      5/25/2016     (50,000)           1,555,753
Cathay Bank        ' Cash Mgmt Trsfr Dr REF 2011439L FUNDS TRANSFER TO DEP XXXX1339 FROM
                                                                                      7/19/2016     (10,000)           1,565,753
Cathay Bank        ' Cash Mgmt Trsfr Cr REF 2731648L FUNDS TRANSFER FRMDEP XXXX1339 FROM
                                                                                      9/29/2016     240,000            1,325,753
Cathay Bank        ' Cash Mgmt Trsfr Cr REF 0051606L FUNDS TRANSFER FRMDEP XXXX1339 FROM
                                                                                       1/5/2017     600,000              725,753
Cathay Bank        ' Cash Mgmt Trsfr Dr REF 0891128L FUNDS TRANSFER TO DEP XXXX1339 FROM
                                                                                      3/30/2017
                                                                                          INTERNAL TRANSFER
                                                                                                    (10,000)             735,753
Cathay Bank        ' Cash Mgmt Trsfr Dr REF 1081426L FUNDS TRANSFER TO DEP XXXX1339 FROM
                                                                                      4/18/2017
                                                                                          GH LOAN TO
                                                                                                   (100,000)
                                                                                                      US GRANDHOOD 835,753
Cathay Bank        ' Cash Mgmt Trsfr Dr REF 1921132L FUNDS TRANSFER TO DEP XXXX1339 FROM
                                                                                      7/11/2017
                                                                                          REPAYMENT (70,000)
                                                                                                      LOAN AND NOW CLEAR 905,753
Cathay Bank        ' Cash Mgmt Trsfr Dr REF 2221210L FUNDS TRANSFER TO DEP XXXX1339 FROM
                                                                                      8/10/2017
                                                                                          GH LOAN TO
                                                                                                   (300,000)
                                                                                                      US GRANDHOOD 1,205,753

                                                             Table 2.0




                                                                                                         EXHIBIT 1
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   Conclusion

   The summary of our findings is as follows:

         GH Design paid Four Star $4,659,112 for expenses related primarily to inventory
          purchases and rent expense.
         GH Design and Mega Home loaned each other money back and forth and the current
          balance shows GH Design owes Mega Home $20,000.
         GH Design paid US Grandhood $1,355,753 for expenses related to “Inventory”
          purchases. Additionally, GH Design and US Grandhood loaned each other money back
          and forth and the current balance of these loan transactions shows GH Design owes US
          Grandhood $150,000. If there was no inventory received, then the net effect is that US
          Grandhood owes GH Design $1,205,753.

   If you have any questions regarding this initial report, please call me at (720) 889-4856 or email
   me at jgeorge@rgl.com.

   Very truly yours,

   RGL Forensics




   Jeff George
   Director, RGL Forensics




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                              EXHIBIT “2”
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   July 16, 2018                                                                       Jeff George
                                                                                       Director
                                                                                       O +1 720 889 4856
                                                                                       E jgeorge@rgl.com
   Robert Mosier
   Mosier & Company, Inc.
   3151 Airway Avenue, Suite A-1
   Costa Mesa, CA 92626

   RE: GH Design and GH Investments – Report 2

   Dear Mr. Mosier,

   This report is following our analysis of the financial information for GH Designs, GH Investments,
   Four Star Reality, and US Grandhood. We initialing converted all financial bank records into an
   electronic useable format. We then utilized the general ledger for each entity as well as the
   summary of bank accounts you provided us. Using these different sources, we were able to
   summarize the deposits into the bank accounts as well as all uses of cash including transfers,
   withdrawals, and any transactions that removed money from the bank accounts of these
   companies.

   For our analysis to determine where money came from or where it was going, we had to rely on
   multiple sources. If we had copies of checks or deposit slips, this was the ideal support as it
   listed the source or destination of a transaction. If there was an electronic transfer or wire, the
   banking description on the bank account statement was used to determine the entity on the
   other side of the transaction. If the name of the entity was not listed, but the last 4 of the account
   on the other side of the transaction was, we utilized the summary of bank accounts that you
   provided us to match up an entity with these transactions. Lastly, for the small amount of
   transactions that we had no descriptions about the source or destination of a transactions, we
   utilized the general ledgers of GH Design, GH Investments, Four Star, and US Grandhood to
   see what these transactions were related too.

   For this report, we have focused on analyzing transactions that go through multiple businesses
   for the same or similar dollar amounts within a short time period. For our analysis, we focused
   on the following six entities:

          GH Investment LP
          GH Design Group LLC
          Home Paradises LLC
          Four Star Realty Group
          U.S. Grandhood LLC
          Mega Home LLC

   Our main goal was sourcing dollar amounts whose final transaction that we could analyze was
   a deposit into Mega Home LLC. We then traced these deposits back and included any
   transactions that included the above companies for a similar dollar amount during a similar time




                                                                                            EXHIBIT 2
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   period. For our analysis, we included any transactions that were within 50% of the original
   transfer and any transfers that were within the same or following month. For example, if
   Company A sent $200,000 to Company B on January 1, 2018 and then Company B sent
   $300,000 to Company C on January 15, 2018, then this would be included in our analysis.
   However, if Company A sent $200,000 to Company B and Company B sent $1,000,000 to
   Company C on the same dates, this would not be included as the variance in amounts makes
   it too hard to determine if they are related. Additionally, if our first example of $200,000 and
   $300,000 happened six months apart, then we would not have included them as the duration of
   time that had passed made it difficult to conclude the transactions were related.

   We focused primarily on transactions that started with GH Design and GH Investments. We
   looked at transactions where these companies sent money to either Four Star Realty or U.S.
   Grandhood and then those companies sent the money to Mega Home. Additionally, though we
   have not analyzed Home Paradises financials, we were able to see deposits into Four Star and
   U.S. Grandhood from Home Paradise where the funds were sent to Mega Home. We do not
   know if these originated from GH Design in a similar time period, but we have still included them
   in our analysis.

   Overall, we located 16 sets of transactions totaling approximately $6.67 million that fit our
   previous description. The full detail of these transactions are in Exhibit A attached to this report.
   Table 1.0 below summarizes the transactions by the entities involved, the total transactions in
   that category, and the total amount.

              Summary of Transactions for Similar Amounts During a Similar Time Period

                                                                     Total # of        Total
                                Description                        Transactions       Amount

          GH Invest/GH Design ---> Four Star ---> Mega Home             10        $    3,995,562
          GH Invest/GH Design ---> US Grandhood ---> Mega Home           1               833,000
          Home Paradise ---> US Grandhood ---> Mega Home                 1               200,000
          Home Paradise ---> Four Star ---> Mega Home                    4             1,639,560

          Total                                                                   $    6,668,122

                                                Table 1.0


   For the total dollar calculation, we only used dollar amounts that flowed through all entities. For
   example, if we saw a transfer of $400,000 from Home Paradise to Four Star and then Four Star
   sent $600,000 to Mega Home, our total dollar amount would only include the $400,000 that
   went through all three entities. Similarly, if the amount was higher and we had $800,000 from
   Home Paradise to Four Star and only $600,000 from Four Star to Mega Home, then only
   $600,000 would be included in our total as that was the amount that went through all three
   entities.

   In one case there were deposits from GH Design and Home Paradise to Four Star that led to
   one transfer out to Mega Home. We have included the total detail of these transactions twice,
   once under each transaction number it applies to, but highlighted and only counted the relevant
   amount for that category. Also, for this transaction, the check from Four Star to Mega Home for
   $1,000,000 was made out to Jean Jiang. This was classified as a Mega Home transaction on



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   the Four Star general ledger. Additionally, you later provided the final piece that shows a check
   from Jean Jiang to Mega Home about a month later.

   The summary of our findings for this report is as follows:

         There were 11 transactions that went from GH Investment and/or GH Design to either
          Four Star or U.S. Grandhood which then went to Mega Home totaling approximately
          $4.83 Million.
         There were five transactions that went from Home Paradise to either Four Star or U.S.
          Grandhood which then went to Mega Home totaling approximately $1.84 Million.
         In total, there were 16 transactions totaling approximately $6.67 million where there were
          similar dollar amounts being transferred during a similar time period involving the
          companies we previously mentioned. The detail of these transactions can be found in
          Exhibit A to this report.

   If you have any questions regarding this initial report, please call me at (720) 889-4856 or email
   me at jgeorge@rgl.com.

   Very truly yours,

   RGL Forensics




   Jeff George
   Director, RGL Forensics




                                                                                         EXHIBIT 2
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            EXHIBIT A




                                                                     EXHIBIT 2
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                       RGL ANALYSIS OF RELATED PARTY TRANSACTIONS INVOLVING SIMILAR AMOUNTS OVER A SIMILAR PERIOD

                             Transaction   Transaction                                                               Check                                                          Deposit/Expense   Transaction
          Company               Date          Type                      Transaction Description                     Number               Check Payee               Amount             Category 2        Number

GH Invest/GH Design ---> Four Star ---> Mega Home
GH Design Group LLC               8/1/2014 Deposit       Deposit                                                                                              $      500,000.00    GH Investment           1
GH Investment LP                  8/1/2014 Expense                                                                   99001      GH Design Group LLC                 (500,000.00)   GH Design               1
GH Design Group LLC               8/5/2014 Expense                                                                   1013*      Four Star Realty Group, Inc         (510,440.00)   Four Star               1
Four Star Realty Group Inc        8/5/2014 Deposit       deposit                                                     1013       GH Design Group LLC                  510,440.00    GH Design               1
Four Star Realty Group Inc        8/5/2014 Deposit       deposit                                                     1211       Home Paradises LLC                   489,560.00    Home Paradise           1
Four Star Realty Group Inc        8/6/2014 Expense       4085                                                        4085       Jeon Jiang                        (1,000,000.00)   Mega Home               1

GH Investment LP               9/18/2014   Expense                                                                   99002      GH Design Group LLC               (1,500,000.00)   GH Design               2
GH Design Group LLC            9/18/2014   Deposit       Deposit                                                                                                   1,500,000.00    GH Investment           2
GH Investment LP               9/19/2014   Expense                                                                    1033      GH Design Group LLC                 (120,000.00)   GH Design               2
GH Design Group LLC            9/19/2014   Deposit       Deposit                                                                                                     120,000.00    GH Investment           2
GH Design Group LLC            9/19/2014   Expense                                                                    1031      Four Star Realty Group Inc          (667,000.00)   Four Star               2
Four Star Realty Group Inc     9/19/2014   Deposit       DEPOSIT                                                      1031      GH Design Group LLC                  667,000.00    GH Design               2
Four Star Realty Group Inc     9/23/2014   Expense       4098*                                                        4098      Mega Home LLC                       (800,000.00)   Mega Home               2

GH Design Group LLC            10/6/2014 Expense                                                                     1035*      Four Star Realty Group Inc          (10,000.00) Four Star                  3
Four Star Realty Group Inc     10/6/2014 Deposit         DEPOSIT                                                     1035       GH Design Group LLC                  10,000.00 GH Design                   3
Four Star Realty Group Inc    10/23/2014 Expense         4113                                                        4113       Mega Home LLC                       (10,000.00) Mega Home                  3

GH Investment LP               11/4/2014   Expense                                                                   99003      GH Design Group LLC               (1,000,000.00)   GH Design               4
GH Design Group LLC            11/4/2014   Deposit       Deposit                                                                                                   1,000,000.00    GH Investment           4
GH Design Group LLC            11/4/2014   Expense                                                                    1043      Four Star Realty Group Inc        (1,000,000.00)   Four Star               4
Four Star Realty Group Inc     11/4/2014   Deposit       DEPOSIT                                                      1043      GH Design Group LLC                1,000,000.00    GH Design               4
Four Star Realty Group Inc    11/12/2014   Expense       4116*                                                        4116      Mega Home LLC                     (1,000,000.00)   Mega Home               4

GH Investment LP               6/18/2015   Expense                                                                     91                                          (500,000.00)    GH Design
GH Design Group LLC            6/17/2015   Deposit       ' Remote Deposit                                                                                           500,000.00     GH Investment           5
GH Design Group LLC            6/26/2015   Expense       ' Book Wire Transfer FOUR STAR REALTY GROUP INC                                                           (500,000.00)    Four Star               5
Four Star Realty Group Inc     6/26/2015   Deposit       Wire Transfer-INGH DESIGN GROUP LLC                                                                        500,000.00     GH Design               5
Four Star Realty Group Inc     6/29/2015   Expense       Temporary Check                                                        Mega Home LLC                      (500,000.00)    Mega Home               5

GH Investment LP               7/13/2015   Expense                                                                    1021                                         (500,000.00)    GH Design               6
GH Design Group LLC            7/10/2015   Deposit       ' Remote Deposit                                                                                           500,000.00     GH Investment           6
Four Star Realty Group Inc     7/14/2015   Deposit       Remote Deposit                                               1058      GH Design Group LLC                  50,000.00     GH Design               6
Four Star Realty Group Inc     7/14/2015   Deposit       Remote Deposit                                               1053      GH Design Group LLC                 489,121.95     GH Design               6
Four Star Realty Group Inc     7/15/2015   Expense       Domes c Wire OutMEGA HOME LLC                                                                             (600,000.00)    Mega Home               6

GH Investment LP               7/21/2015   Expense                                                                    1022                                         (500,000.00)    GH Design               7
GH Design Group LLC            7/20/2015   Deposit       ' Remote Deposit                                                                                           500,000.00     GH Investment           7
Four Star Realty Group Inc     7/22/2015   Deposit       Wire Transfer-INGH DESIGN GROUP LLC                                                                        400,828.06     GH Design               7
Four Star Realty Group Inc     7/22/2015   Expense       Domes c Wire OutMEGA HOME LLC                                                                             (400,000.00)    Mega Home               7
                                                                                                                                                                                                           8
GH Design Group LLC            9/28/2015 Expense                                                                     1153 *     Four Star Realty Group Inc         (300,131.42) Four Star                  8
Four Star Realty Group Inc     9/28/2015 Deposit         Merchant Dep Capture                                         1153                                          300,131.42 GH Design                   8
Four Star Realty Group Inc     9/29/2015 Expense         135                                                           135      Mega Home LLC                      (300,000.00) Mega Home                  8



                                                                            The accompanying text is an integral part of this report                                                      EXHIBIT 2Page 1 of 3
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                       RGL ANALYSIS OF RELATED PARTY TRANSACTIONS INVOLVING SIMILAR AMOUNTS OVER A SIMILAR PERIOD

                              Transaction   Transaction                                                                Check                                                      Deposit/Expense   Transaction
          Company                Date          Type                       Transaction Description                     Number               Check Payee           Amount             Category 2        Number


GH Design Group LLC            11/23/2015 Expense                                                                       1226      Four Star Realty Group Inc       (49,874.12) Four Star                 9
Four Star Realty Group Inc     11/23/2015 Deposit         Merchant Dep Capture                                          1226      GH Design Group LLC               49,874.12 GH Design                  9
Four Star Realty Group Inc     11/23/2015 Expense         139 Skip in check sequence                                     139      Mega Home LLC                    (49,000.00) Mega Home                 9

GH Design Group LLC             12/4/2015 Expense                                                                      1245 *     Four Star Reality Group Inc      (20,000.00) Four Star                10
Four Star Realty Group Inc      12/4/2015 Deposit         Merchant Dep Capture                                          1245      GH Design Group LLC               20,000.00 GH Design                 10
Four Star Realty Group Inc      12/4/2015 Expense         140                                                            140      Mega Home LLC                    (20,000.00) Mega Home                10

GH Invest/GH Design ---> Four Star ---> Mega Home - Total Amount to Mega Home                                                                                   (3,995,561.95)

GH Invest/GH Design ---> US Grandhood ---> Mega Home
GH Investment LP                9/18/2014 Expense                                                                      99002      GH Design Group LLC           (1,500,000.00)   GH Design              11
GH Design Group LLC             9/18/2014 Deposit         Deposit                                                                                                1,500,000.00    GH Investment          11
GH Investment LP                9/19/2014 Expense                                                                       1033      GH Design Group LLC             (120,000.00)   GH Design              11
GH Design Group LLC             9/19/2014 Deposit         Deposit                                                                                                  120,000.00    GH Investment          11
GH Design Group LLC             9/19/2014 Expense                                                                       1030      U.S. Grandhood LLC              (832,700.13)   US Grandhood           11
U.S. Grandhood LLC              9/19/2014 Deposit         DEPOSIT                                                                                                  832,700.13    GH Design              11
U.S. Grandhood LLC              9/23/2014 Expense         1017                                                          1017      Mega Home LLC                   (833,000.00)   Mega Home              11

GH Invest/GH Design ---> US Grandhood ---> Mega Home - Total Amount to Mega Home                                                                                 (833,000.00)

Home Paradise ---> US Grandhood ---> Mega Home
U.S. Grandhood LLC           11/10/2016 Deposit           Wire Transfer-INHOME PARADISE INVESTMENT CENTER LLC                                                      100,000.00 Home Paradise             12
U.S. Grandhood LLC            12/6/2016 Deposit           Wire Transfer-INHOME PARADISE INVESTMENT CENTER LLC                                                      100,000.00 Home Paradise             12
U.S. Grandhood LLC           12/28/2016 Expense           Cash Mgmt Trsfr DrREF 3631850L FUNDS TRANSFER TO DEP XXXX9208FROM                                       (280,000.00) Mega Home                12

Home Paradise ---> US Grandhood ---> Mega Home - Total Amount to Mega Home                                                                                       (200,000.00)


Home Paradise ---> Four Star ---> Mega Home
Four Star Realty Group Inc        5/13/2014 Deposit       DEPOSIT                                                      09903      Home Paradises LLC               400,000.00 Home Paradise             13
Four Star Realty Group Inc        5/16/2014 Expense       OUTGOING WIRE                                                                                           (600,000.00) Mega Home                13
                                                          REFERENCE # 140516004234 WIRE DEBIT
                                                          SENDING BANK REFERENCE # NONREF

Four Star Realty Group Inc      5/28/2014 Deposit         DEPOSIT                                                      09904      Home Paradises LLC               150,000.00 Home Paradise             14
Four Star Realty Group Inc      5/29/2014 Expense         4062*                                                        4062       Mega Home LLC                   (150,000.00) Mega Home                14

GH Investment LP                 8/1/2014   Expense                                                                    99001      GH Design Group LLC             (500,000.00)   GH Design              15
GH Design Group LLC              8/1/2014   Deposit       Deposit                                                                                                  500,000.00    GH Investment          15
GH Design Group LLC              8/5/2014   Expense                                                                    1013*      Four Star Realty Group, Inc     (510,440.00)   Four Star              15
Four Star Realty Group Inc       8/5/2014   Deposit       deposit                                                      1013       GH Design Group LLC              510,440.00    GH Design              15
Four Star Realty Group Inc       8/5/2014   Deposit       deposit                                                      1211       Home Paradises LLC               489,560.00    Home Paradise          15
Four Star Realty Group Inc       8/6/2014   Expense       4085                                                         4085       Jeon Jiang                    (1,000,000.00)   Mega Home              15




                                                                              The accompanying text is an integral part of this report                                                  EXHIBIT 2Page 2 of 3
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                       RGL ANALYSIS OF RELATED PARTY TRANSACTIONS INVOLVING SIMILAR AMOUNTS OVER A SIMILAR PERIOD

                             Transaction   Transaction                                                              Check                                                Deposit/Expense   Transaction
          Company               Date          Type                     Transaction Description                     Number              Check Payee      Amount             Category 2        Number

Four Star Realty Group Inc     5/18/2015   Deposit       Deposit TLR 5102 BR 8251 051605102190047                                                         295,000.00    Home Paradise          16
Four Star Realty Group Inc     6/10/2015   Deposit       Deposit                                                1096           Home Paradises, LLC          3,600.00    Home Paradise          16
Four Star Realty Group Inc     6/17/2015   Deposit       Deposit 000007095654350                                1152           Home Paradises LLC             800.00    Home Paradise          16
Four Star Realty Group Inc     6/17/2015   Deposit       Deposit 000007095654330                                1177           Home Paradises LLC         495,000.00    Home Paradise          16
Four Star Realty Group Inc     6/29/2015   Expense       Outgoing Wire FIRST AMERICAN TIT LE COMPANY 000000000002590                                     (600,000.00)   Mega Home              16

Home Paradise ---> Four Star ---> Mega Home - Total Amount to Mega Home                                                                                (1,639,560.00)

Total GH Invest/GH Design ---> Home Paradise/US Grandood/Four Star ---> Mega Home                                                                    $ (6,668,121.95)




                                                                           The accompanying text is an integral part of this report                                            EXHIBIT 2Page 3 of 3
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                              EXHIBIT “3”
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                                                                                                             Invoice
                                                                                                               8/2/2018
Robert Mosier
Mosier & Company Inc
3151 Airway Avenue
Suite A-1                                                                         Invoice No.               1063312472
Costa Mesa, CA 92626                                                              Billed Through              7/31/2018
USA                                                                               Our File No.                10633838
                                                                                  Client Number                  138566

REGARDING:        Securities & Exchange Commission v Edward & Jean Chen et al
                  Reference No. cv-17-6929 PA




Current Professional Services and Expenses (detail follows)                                           $        41,566.00




Total now due - Please pay this amount                                                                $        41,566.00


Please reference this invoice number on your payment: 1063312472




For questions relating to this invoice, please call 303.721.8898
All amounts are due upon receipt, unless noted otherwise. Please notify us of any disputes within 30 days
of the invoice date.




Please mail check payments to:              ACH / Domestic wires:               International wires:
RGL, Inc.                                   Colorado Business Bank              Colorado Business Bank
7887 East Belleview, Suite 1200             821 17th Street                     Denver, CO 80202
Denver, CO 80111                            Denver, CO 80202                    SWIFT: CBIZUS55 (USD Only)
Fed.ID.: XX-XXXXXXX                         Account Name: RGL, Inc              Account Name: RGL, Inc
                                            Account Number: 3445313             Account Number: 3445313
                                            ABA/Routing:102003206               ABA/Routing:102003206




                                                                                                                  EXHIBIT 3
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   Our File No. 10633838                                                    Invoice No.1063312472     Page      2



                                                                                    Hours/Qty       Rate     Amount
Chargeable Time:
 Diana Sklenar-Hallberg:
    5/8/2018 Initial File Review - Initial File Review                                   0.50   205.00        102.50
  Diana Sklenar-Hallberg Total                                                           0.50                 102.50

  Tracy Lu:
    5/9/2018 FTech - OCR Scanning - Convert bank statements to excel format              2.60   295.00        767.00
    5/16/2018 FTech - OCR Scanning - Convert bank statements to excel format             1.00   295.00        295.00
    5/17/2018 FTech - OCR Scanning - Continue converting bank statements to              0.50   295.00        147.50
    excel format
  Tracy Lu Total                                                                         4.10                1,209.50

  Duc Nguyen:
    5/8/2018 Telephone Call - Call with Jeff George regarding OCR service needs.         0.20   335.00          67.00
  Duc Nguyen Total                                                                       0.20                   67.00

  Jeffrey George:
    5/8/2018 Telephone Call - Prepare for and phone call with Receiver                   0.60   350.00         210.00
    5/9/2018 Document Review & Analysis - Review of Initial Documents received           2.80   350.00         980.00
    5/10/2018 Document Review & Analysis - Review of Initial Documents received          1.90   350.00         665.00
    5/21/2018 Document Review & Analysis - Analysis of Bank Deposits                     1.20   350.00         420.00
    5/22/2018 Document Review & Analysis - Analysis of Bank Deposits                     7.00   350.00       2,450.00
    5/23/2018 Document Review & Analysis - Analysis of GH Design Bank                    4.20   350.00       1,470.00
    Statments
    5/30/2018 Document Review & Analysis - Analysis of GH Expenses                       3.50   350.00       1,225.00
    5/31/2018 Document Review & Analysis - Analysis of GH Design and GH                  4.50   350.00       1,575.00
    Investment banking information
    6/1/2018 Document Review & Analysis - Analysis of Bank statements for GH             3.50   350.00       1,225.00
    Design
    6/6/2018 Document Review & Analysis - Analysis of GL Entries for select              1.50   350.00        525.00
    transactions
    6/12/2018 Report Preparation & Review - Drafting of initial report on 4 Star,        3.50   350.00       1,225.00
    Mega Home, and US Grandhood
    6/14/2018 Document Review & Analysis - Analysis of bank statements                   2.40   350.00        840.00
    6/18/2018 Document Review & Analysis - Analysis of Bank Statements                   0.50   350.00        175.00
    6/19/2018 Document Review & Analysis - Analysis of US Grandhood and Four             1.00   350.00        350.00
    Star Bank Statements
    6/21/2018 Document Review & Analysis - Analysis of US Grandhood and Four             5.10   350.00       1,785.00
    Star Bank Accounts
    6/22/2018 Document Review & Analysis - Analysis of Four Star Bank Accounts           3.80   350.00       1,330.00
    6/25/2018 Document Review & Analysis - Analysis of GL Accounts for US                0.60   350.00         210.00
    Grandhood
    7/13/2018 Document Review & Analysis - Analysis of transfers of money                3.70   350.00       1,295.00
    between multiple entities
    7/16/2018 Document Review & Analysis - Analysis of transfers of money to             3.20   350.00       1,120.00
    similar companies and drafting of reports
  Jeffrey George Total                                                                  54.50              19,075.00

  Andy Guzman:
    5/10/2018 Analyze Asset Attributes - Combining bank statement information            7.00   290.00       2,030.00
    documents and manually inserting check payment information to excel
    spreadsheet.
    5/11/2018 Analyze Asset Attributes - Manually inserting check payment                5.00   290.00       1,450.00
    information into combined bank statement spreadsheet.
    5/14/2018 Document Review & Analysis - Structure charts creation.                    4.00   290.00       1,160.00
    5/17/2018 Document Review & Analysis - Updating combined bank statements             4.00   290.00       1,160.00
    spreadsheet with new bank statements information.
    5/21/2018 Document Review & Analysis - Bank Statement Deposit Analysis.              4.00   290.00       EXHIBIT 3
                                                                                                             1,160.00
                                                                                                              PAGE 22
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Our File No. 10633838                                                    Invoice No.1063312472     Page      3



                                                                                   Hours/Qty     Rate     Amount
 5/22/2018 Document Review & Analysis - Bank Statement Deposit Analysis.                2.00   290.00       580.00
 5/23/2018 Document Review & Analysis - Bank Statement Expense                          5.00   290.00     1,450.00
 Categorization Analysis.
 5/24/2018 Document Review & Analysis - Bank Statements Expense Analysis                7.00   290.00     2,030.00
 6/18/2018 Document Review & Analysis - Completeness check of pdf files                 5.00   290.00     1,450.00
 converted to excel and began input of payee names for Four Star Realty Group.
 6/19/2018 Document Review & Analysis - Continued input of payee for Four Star          8.00   290.00     2,320.00
 Realty Group and US Grandhood in addition to inputting payor's information from
 checks provided.
 6/20/2018 Document Review & Analysis - Continued input of payor's information          8.00   290.00     2,320.00
 from checks provided and beginning of transaction categorization.
 6/21/2018 Document Review & Analysis - Continued transaction categorization,
 reviewing items under the unknown category, and creating two summary
 workbooks - one for
 Four Star Realty Group, Inc. and one for US Grandhood LLC.                             7.00   290.00     2,030.00
 7/9/2018 Document Review & Analysis - Performed the analysis for GH
 Investment -> GH Design -> Four Star/Jean Chen -> Mega Home, GH
 Investment -> GH Design -> US
 Grandhood -> Mega Home, Home Paradises -> US Grandhood -> Mega Home,                   5.50   290.00     1,595.00
 Home Paradises -> US Four Star -> Mega
 7/13/2018 Meeting Attendance - Discuss updated analysis with Jeff George.              0.30   290.00       87.00
 7/16/2018 Document Review & Analysis - Discussion with Jeff George and                 1.00   290.00      290.00
 performing a six month scanthrough analysis.
Andy Guzman Total                                                                      72.80            21,112.00

Chargeable Time Total                                                                  132.1            41,566.00

                                                                   Total Due                            41,566.00




                                                                                                          EXHIBIT 3
                                                                                                           PAGE 23
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 1                                   PROOF OF SERVICE
 2
     I am over the age of 18 years and not a party to this action. My business address is:
 3
           Mosier & Company, Inc.
 4         3151 Airway Avenue, Suite A-1, Costa Mesa CA 92626
           Telephone No. (714) 432-0800; Facsimile No. (714) 432-7329
 5
     On August 29, 2018, I caused to be served the documents entitled SUMMARY OF
 6
     FINDINGS BY THE FORENSIC ACCOUNTANTS AND FIDUCIARY’S
 7   RECOMMENDATIONS on all the parties to this action addressed as stated on the
     attached service list:
 8
     ☐ OFFICE MAIL: By placing in sealed envelope(s), which I placed for collection
 9   and mailing today following ordinary business practices. I am readily familiar with this
     company’s practice for collection and processing of correspondence for mailing; such
10   correspondence would be deposited with the U.S. Postal Service on the same day in the
11
     ordinary course of business.

12
     ☐ PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s), which I
     personally deposited with the U.S. Postal Service. Each such envelope was deposited
13   with the U.S. Postal Service at Costa Mesa, California, with first class postage thereon
     fully prepaid.
14
     ☐ EXPRESS U.S. MAIL: Each such envelope was deposited in a facility regularly
15   maintained at the U.S. Postal Service for receipt of Express Mail at Costa Mesa,
16
     California, with Express Mail postage paid.
     ☐ ELECTRONIC MAIL: By transmitting the document by electronic mail to the
17
     electronic mail address as stated on the attached service list.
18
     ☒ E-FILING: By causing the document to be electronically filed via the Court’s
19   CM/ECF system, which effects electronic service on counsel who are registered with
     the CM/ECF system.
20
     ☐ FAX: By transmitting the document by facsimile transmission. The transmission
21   was reported as complete and without error.
22                I declare under penalty of perjury that the foregoing is true and correct.
23

24   Date: August 29, 2018                         _____________________________________
                                                   Kristina Godinez
25

26
